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                                                             John Doe v. ICE
                                                             No. 24-0617 (TKJ)

                                         U.S. Immigration and Customs Enforcement (ICE) Vaughn Index




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       Bates
                 Withholding:                                                                                                                  Exemption(s)
    Stamp Page                                        Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                    Applied
        #
                                Document Title: Email titled “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 14, 2023 7:07PM

                                Document Description: This is an email communication from the Deputy Chief Counsel (DCC) at
                                ICE’s Office of the Principal Legal Advisor (OPLA) Buffalo (Batavia) to ERO, Buffalo Field Office,
                                Buffalo Federal Detention Facility employees regarding Plaintiff John Doe’s (Plaintiff) detention
                                status and the inadvertent disclosure of information pertaining to Plaintiff in violation of 8 CFR §
                                208.6.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                attorney-client privileged information on guidance from an OPLA attorney to their client.
                                                                                                                                               Freedom of
      8/L76                     Reason(s) for Redactions:
                                                                                                                                               Information
                    Partial     FOIA Exemption (b)(5): The information redacted in the body of the email constitutes attorney-client
                                                                                                                                               Act 5 U.S.C.
                                privileged information because OPLA provides legal advice and counsel to their client, ERO. The
                                                                                                                                               § 552 (b)(5)
                                DCC in this email exchange is advising client, ERO, Buffalo Field Office, Buffalo Federal Detention
                                Facility, on the applicable detention authority for Plaintiff in response to Plaintiff’s release request.
                                The attorney-client privilege applies in this instance because it is a discussion between an attorney,
                                the DCC, and their client (ERO) in the course of which the DCC provides his legal opinion as to the
                                correct detention authority. The attorney-client privilege is not limited to protecting documents
                                created in anticipation of litigation. This privilege applies to facts that are divulged to the attorney and
                                encompasses the opinions given by the attorney based upon, and thus reflecting, those facts.
                                Attorney-client communications are shielded from disclosure to encourage a full and frank discussion
                                between the client and its legal advisor. If these communications, as covered by the attorney-client
                                privilege, were disclosed, this could adversely impact the free flow of advice and information and
                                could chill interactions and communications between agency employees and their legal counsel.

                                Document Title: Email titled “RE: A# XXX-XXX-XXX/URGENT: Unlawful disclosures &
                                violations of federal regulations protecting confidentiality of fear-based applications;” September 13,
                                2023 7:34AM                                                                                                    Freedom of
                                                                                                                                               Information
      9/L75         Partial
                                Document Description: This is an email communication from the DCC at ICE OPLA Buffalo                          Act 5 U.S.C.
                                (Batavia) to ERO, Buffalo Field Office, Buffalo Federal Detention Facility employees regarding                 § 552 (b)(5)
                                Plaintiff’s detention status and the inadvertent disclosure of information pertaining to Plaintiff in
                                violation of 8 CFR § 208.6.

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       Bates
                 Withholding:                                                                                                               Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                 Applied
        #

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative and attorney-client privileged information on guidance from an OPLA attorney to their
                                client.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, sent to ERO, Buffalo Field Office from a
                                DCC at OPLA Buffalo, includes the DCC’s preliminary analysis of the correct detention authority,
                                without coming to a final conclusion. Release of this material would serve to profoundly chill the
                                decision-making process across ICE, where it is crucial that employees are able to freely express their
                                opinion regarding how best to represent the agency’s interests and which litigation strategy to pursue.
                                Disclosure would discourage the expression of candid opinions and inhibit the free and frank
                                exchange of information and ideas between agency personnel and between agencies and ensure
                                personnel would be less inclined to freely memorialize their thoughts regarding litigation strategies,
                                which would adversely affect the ability to ICE to effectively conduct government business.

                                The information redacted in the body of the email constitutes attorney-client privileged information
                                because OPLA provides legal advice and counsel to their client, ERO. The DCC in this email
                                exchange is advising client, ERO, Buffalo Field Office, Buffalo Federal Detention Facility, on the
                                applicable detention authority for Plaintiff in response to Plaintiff’s release request and the handling
                                of the inadvertent disclosure of information pertaining to Plaintiff in violation of 8 CFR § 208.6. The
                                attorney-client privilege applies in this instance because it is a discussion between an attorney, the
                                DCC, and their client (ERO) in the course of which the DCC provides his legal opinion as to the
                                correct detention authority. The attorney-client privilege is not limited to protecting documents
                                created in anticipation of litigation. This privilege applies to facts that are divulged to the attorney
                                and encompasses the opinions given by the attorney based upon, and thus reflecting, those facts.
                                Attorney-client communications are shielded from disclosure to encourage a full and frank discussion
                                between the client and its legal advisor. If these communications, as covered by the attorney-client

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    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                 Applied
        #
                                privilege, were disclosed, this could adversely impact the free flow of advice and information and
                                could chill interactions and communications between agency employees and their legal counsel.
                                Document Title: Email titled, “RE: A# XXX-XXX-XXX/URGENT: Unlawful disclosures &
                                violations of federal regulations protecting confidentiality of fear-based applications;” September 11,
                                2023 10:12 AM

                                Document Description: This is an email communication from an ERO, Buffalo Field Office, Buffalo
                                Federal Detention Facility employees to the DCC at ICE OPLA Buffalo (Batavia) regarding
                                Plaintiff’s detention status.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative and attorney-client privileged information.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                                                                                                                            Freedom of
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                                                                                                                            Information
     10-9/L74       Partial     deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                                                                                                                            Act 5 U.S.C.
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                                                                                                                            § 552 (b)(5)
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, sent from ERO, Buffalo Field Office to a
                                DCC at OPLA Buffalo, includes ERO’s discussion regarding detention authority and provides its
                                opinion on what it believes to be appropriate detention authority, without coming to a final
                                conclusion. Release of this material would serve to profoundly chill the decision-making process
                                across ICE, where it is crucial that employees are able to freely express their opinion regarding how
                                best to represent the agency’s interests and which litigation strategy to pursue. Disclosure would
                                discourage the expression of candid opinions and inhibit the free and frank exchange of information
                                and ideas between agency personnel and between agencies and ensure personnel would be less
                                inclined to freely memorialize their thoughts regarding litigation strategies, which would adversely
                                affect the ability to ICE to effectively conduct government business.

                                The information redacted in the body of the email constitutes attorney-client privileged information
                                because OPLA provides legal advice and counsel to their client, ERO. The ERO, Buffalo Field
                                Office, Buffalo Federal Detention Facility employee is providing information to the OPLA Buffalo

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                 Withholding:                                                                                                               Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                 Applied
        #
                                DCC and asking for advice on responding to Plaintiff’s release request and the handling of the
                                inadvertent disclosure of information pertaining to Plaintiff in violation of 8 CFR § 208.6. The
                                attorney-client privilege applies in this instance because it is a discussion between an attorney, the
                                DCC, and their client (ERO). The attorney-client privilege is not limited to protecting documents
                                created in anticipation of litigation. This privilege applies to facts that are divulged to the attorney
                                and encompasses the opinions given by the attorney based upon, and thus reflecting, those facts.
                                Attorney-client communications are shielded from disclosure to encourage a full and frank discussion
                                between the client and its legal advisor. If these communications, as covered by the attorney-client
                                privilege, were disclosed, this could adversely impact the free flow of advice and information and
                                could chill interactions and communications between agency employees and their legal counsel.

                                Document Title: Email titled “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 11, 2023
                                8:44AM

                                Document Description: This is an email communication from the DCC at ICE OPLA Buffalo
                                (Batavia) to ERO, Buffalo Field Office, Buffalo Federal Detention Facility employees regarding
                                Plaintiff’s detention status.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative and attorney-client privileged information on guidance from an OPLA attorney to their
                                client.                                                                                                     Freedom of
                                                                                                                                            Information
      10/L73        Partial
                                Reason(s) for Redactions:                                                                                   Act 5 U.S.C.
                                FOIA Exemption (b)(5):                                                                                      § 552 (b)(5)
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, sent from a DCC at OPLA Buffalo to ERO,
                                Buffalo Field Office, includes the DCC’s opinions and recommendations regarding the appropriate
                                detention authority without coming to a final conclusion. Release of this material would serve to
                                profoundly chill the decision-making process across ICE, where it is crucial that employees are able

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                 Withholding:                                                                                                             Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                               Applied
        #
                                to freely express their opinion regarding how best to represent the agency’s interests and which
                                litigation strategy to pursue. Disclosure would discourage the expression of candid opinions and
                                inhibit the free and frank exchange of information and ideas between agency personnel and between
                                agencies and ensure personnel would be less inclined to freely memorialize their thoughts regarding
                                litigation strategies, which would adversely affect the ability to ICE to effectively conduct
                                government business.

                                The information redacted in the body of the email constitutes attorney-client privileged information
                                because OPLA provides legal advice and counsel to their client, ERO. The DCC in this email
                                exchange is advising client, ERO, Buffalo Field Office, Buffalo Federal Detention Facility, on the
                                applicable detention authority for Plaintiff in response to Plaintiff’s release request. The attorney-
                                client privilege applies in this instance because it is a discussion between an attorney, the DCC, and
                                their client (ERO) in the course of which the DCC provides his legal opinion as to the correct
                                detention authority. The attorney-client privilege is not limited to protecting documents created in
                                anticipation of litigation. This privilege applies to facts that are divulged to the attorney and
                                encompasses the opinions given by the attorney based upon, and thus reflecting, those facts. Attorney-
                                client communications are shielded from disclosure to encourage a full and frank discussion between
                                the client and its legal advisor. If these communications, as covered by the attorney-client privilege,
                                were disclosed, this could adversely impact the free flow of advice and information and could chill
                                interactions and communications between agency employees and their legal counsel.
                                Document Title: Email titled “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 10, 2023
                                10:07PM

                                Document Description: This is an email communication from an ERO, Buffalo Field Office, Buffalo
                                Federal Detention Facility employees to the DCC at ICE OPLA Buffalo (Batavia) regarding                   Freedom of
                                Plaintiff’s detention status.                                                                             Information
    10-11/L72       Partial                                                                                                               Act 5 U.S.C.
                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold          § 552 (b)(5)
                                deliberative and attorney-client privileged information.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations

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    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                 Applied
        #
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, sent from ERO, Buffalo Field Office to a
                                DCC at OPLA Buffalo, includes ERO’s discussion regarding detention authority and provides its
                                opinion on what it believes to be appropriate detention authority, without coming to a final
                                conclusion. Release of this material would serve to profoundly chill the decision-making process
                                across ICE, where it is crucial that employees are able to freely express their opinion regarding how
                                best to represent the agency’s interests and which litigation strategy to pursue. Disclosure would
                                discourage the expression of candid opinions and inhibit the free and frank exchange of information
                                and ideas between agency personnel and between agencies and ensure personnel would be less
                                inclined to freely memorialize their thoughts regarding litigation strategies, which would adversely
                                affect the ability to ICE to effectively conduct government business.

                                The information redacted in the body of the email constitutes attorney-client privileged information
                                because OPLA provides legal advice and counsel to their client, ERO. The ERO, Buffalo Field
                                Office, Buffalo Federal Detention Facility employee is providing information to the OPLA Buffalo
                                DCC and asking for advice on responding to Plaintiff’s release request and the handling of the
                                inadvertent disclosure of information pertaining to Plaintiff in violation of 8 CFR § 208.6. The
                                attorney-client privilege applies in this instance because it is a discussion between an attorney, the
                                DCC, and their client (ERO). The attorney-client privilege is not limited to protecting documents
                                created in anticipation of litigation. This privilege applies to facts that are divulged to the attorney
                                and encompasses the opinions given by the attorney based upon, and thus reflecting, those facts.
                                Attorney-client communications are shielded from disclosure to encourage a full and frank discussion
                                between the client and its legal advisor. If these communications, as covered by the attorney-client
                                privilege, were disclosed, this could adversely impact the free flow of advice and information and
                                could chill interactions and communications between agency employees and their legal counsel.

                                Document Title: Email titled “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of               Freedom of
                                federal regulations protecting confidentiality of fear-based applications;” September 8, 2023 1:19PM        Information
      11/L71        Partial                                                                                                                 Act 5 U.S.C.
                                Document Description: Email communication.                                                                  § 552 (b)(5)
                                                                                                                                              (b)(7)(E)


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                 Withholding:                                                                                                            Exemption(s)
    Stamp Page                                        Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                              Applied
        #
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 or 7(e) as
                                to the information withheld in the body of this email and will process it for release.

                                Document Title: Email titled “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 1, 2023 3:44PM

                                Document Description: This is an email communication from the DCC at ICE’s OPLA Buffalo
                                (Batavia) to ERO, Buffalo Field Office, Buffalo Federal Detention Facility employees regarding
                                Plaintiff’s detention status and the inadvertent disclosure of information pertaining to Plaintiff in
                                violation of 8 CFR § 208.6.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                attorney client privileged information on guidance from an OPLA attorney to their client.

                                On further consideration, ICE no longer claims Exemption 7(E) as to the information withheld
                                in the body of this email.
                                                                                                                                         Freedom of
                                Reason(s) for Redactions:                                                                                Information
      12/L70        Partial     FOIA Exemption (b)(5): The information redacted in the body of the email constitutes attorney-client     Act 5 U.S.C.
                                privileged information because OPLA provides legal advice and counsel to their client, ERO. The          § 552 (b)(5)
                                DCC in this email exchange is advising client, ERO, Buffalo Field Office, Buffalo Federal Detention        (b)(7)(E)
                                Facility, on the status of Plaintiffs detention in light of the inadvertent disclosure of information
                                pertaining to Plaintiff in violation of 8 CFR § 208.6. The attorney-client privilege applies in this
                                instance because it is a discussion between an attorney, the DCC, and their client (ERO) in the course
                                of which the DCC provides his legal advice on the authority to detain Plaintiff given the inadvertent
                                disclosure of information pertaining to Plaintiff in violation of 8 CFR § 208.6. The attorney-client
                                privilege is not limited to protecting documents created in anticipation of litigation. This privilege
                                applies to facts that are divulged to the attorney and encompasses the opinions given by the attorney
                                based upon, and thus reflecting, those facts. Attorney-client communications are shielded from
                                disclosure to encourage a full and frank discussion between the client and its legal advisor. If these
                                communications, as covered by the attorney-client privilege, were disclosed, this could adversely
                                impact the free flow of advice and information and could chill interactions and communications
                                between agency employees and their legal counsel.



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                 Withholding:                                                                                                              Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                Applied
        #
                                Document Title: Email titled “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” August 31, 2023 6:35PM

                                Document Description: This is an email communication from the DCC at ICE’s OPLA, Buffalo
                                (Batavia) to ERO, Buffalo Field Office, Buffalo Federal Detention Facility employees regarding
                                Plaintiff’s release request letter dated August 30, 2023.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                attorney client privileged information on guidance from an OPLA attorney to their client.

                                Reason(s) for Redactions:
                                                                                                                                           Freedom of
                                FOIA Exemption (b)(5): The information redacted in the body of the email constitutes attorney-client
                                                                                                                                           Information
                                privileged information because OPLA provides legal advice and counsel to their client, ERO. The
      12/L69        Partial                                                                                                                Act 5 U.S.C.
                                DCC in this email exchange is providing his expert legal advice to his client, ERO, Buffalo Field
                                                                                                                                           § 552 (b)(5)
                                Office, Buffalo Federal Detention Facility, regarding responding to Plaintiff’s release request letter
                                dated August 30, 2023. The attorney-client privilege applies in this instance because it is a discussion
                                between an attorney, the DCC, and their client (ERO) in the course of which the DCC provides his
                                legal advice on responding to the release request. The attorney-client privilege is not limited to
                                protecting documents created in anticipation of litigation. This privilege applies to facts that are
                                divulged to the attorney and encompasses the opinions given by the attorney based upon, and thus
                                reflecting, those facts. Attorney-client communications are shielded from disclosure to encourage a
                                full and frank discussion between the client and its legal advisor. If these communications, as covered
                                by the attorney-client privilege, were disclosed, this could adversely impact the free flow of advice
                                and information and could chill interactions and communications between agency employees and
                                their legal counsel.




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                 Withholding:                                                                                                              Exemption(s)
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                 Full/Partial                                                                                                                Applied
        #
                                Document Title: Email titled “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” August 31, 2023 5:26PM

                                Document Description: This is an email communication from an employee at ERO, Buffalo Field
                                Office, Buffalo Federal Detention Facility to the DCC at ICE OPLA Buffalo (Batavia) regarding
                                Plaintiff’s release request date August 30, 2023.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                attorney client privileged information from OPLA’s client, ERO, to an OPLA attorney.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):
                                The information redacted in the body of the email constitutes attorney-client privileged information       Freedom of
    12-13/L68       Partial
                                because OPLA provides legal advice and counsel to their client, ERO. The ERO, Buffalo Field                Information
                                Office, Buffalo Federal Detention Facility employee in this email exchange is sharing in confidence        Act 5 U.S.C.
                                his understanding of the applicable detention authority for Plaintiff in response to Plaintiff’s release   § 552 (b)(5)
                                request for the purpose of seeking the DCC’s legal advice. The attorney-client privilege applies in
                                this instance because it is a discussion between an attorney, the DCC, and his client (ERO) in the
                                course of which the DCC is being asked to provide his legal opinion as to the correct detention
                                authority. The attorney-client privilege is not limited to protecting documents created in anticipation
                                of litigation. This privilege applies to facts that are divulged to the attorney and encompasses the
                                opinions given by the attorney based upon, and thus reflecting, those facts. Attorney-client
                                communications are shielded from disclosure to encourage a full and frank discussion between the
                                client and its legal advisor. If these communications, as covered by the attorney-client privilege, were
                                disclosed, this could adversely impact the free flow of advice and information and could chill
                                interactions and communications between agency employees and their legal counsel.
                                Document Title: Emailed titled, “Unlawful Disclosure Claim (-723)” September 18, 2023 7:06PM
                                                                                                                                           Freedom of
                                Document Description: Body of email.                                                                       Information
      32/L67        Partial                                                                                                                Act 5 U.S.C.
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                 § 552 § 552
                                information withheld in the body of this email and will process it for release.                               (b)(5)

                                Title: Emailed titled, “Unlawful Disclosure Claim (-723)” September 12, 2023 4:31PM                        Freedom of
    32-33/L66       Partial
                                                                                                                                           Information

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                 Withholding:                                                                                                               Exemption(s)
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                 Full/Partial                                                                                                                 Applied
        #
                                Document Description: This is an email communication from the DCC at ICE OPLA NYC to ICE                    Act 5 U.S.C.
                                employees in ICE’s OPLA Buffalo; ERO, Buffalo Field Office; and ERO, New York Field Office                  § 552 § 552
                                regarding the inadvertent disclosure of information pertaining to Plaintiff in violation of 8 CFR §            (b)(5)
                                208.6.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                attorney client privileged information on guidance from an OPLA attorney to their client.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5): The information redacted in the body of the email constitutes attorney-client
                                privileged information because OPLA provides legal advice and counsel to their client, ERO. The
                                DCC in this email exchange is advising client, ERO, Buffalo Field Office and ERO, New York Field
                                Office, as well as OPLA Buffalo, on responding to Plaintiff’s communications regarding the
                                inadvertent disclosure of information pertaining to Plaintiff in violation of 8 CFR § 208.6. The
                                attorney-client privilege applies in this instance because it is a discussion between an attorney, the
                                DCC, and their client (ERO) in the course of which the DCC provides his legal opinion as to the
                                inadvertent disclosure of information. The attorney-client privilege is not limited to protecting
                                documents created in anticipation of litigation. This privilege applies to facts that are divulged to the
                                attorney and encompasses the opinions given by the attorney based upon, and thus reflecting, those
                                facts. Attorney-client communications are shielded from disclosure to encourage a full and frank
                                discussion between the client and its legal advisor. If these communications, as covered by the
                                attorney-client privilege, were disclosed, this could adversely impact the free flow of advice and
                                information and could chill interactions and communications between agency employees and their
                                legal counsel.

                                Document Title: Email titled “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” August 30, 2023
                                11:09:13PM
                                                                                                                                            Freedom of
                                                                                                                                            Information
                                Document Description: This is an email communication between two employees in the ERO, New
      40/L65        Partial                                                                                                                 Act 5 U.S.C.
                                York Field Office regarding the inadvertent disclosure of information pertaining to Plaintiff in
                                                                                                                                            § 552 (b)(5)
                                violation of 8 CFR § 208.6.

                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the
                                information withheld in the body of this email and will process it for release.

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                 Withholding:                                                                                                         Exemption(s)
    Stamp Page                                      Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                           Applied
        #
                                Document Title: Email titled “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” August 9, 2023 6:43PM

                                Document Description: This is an email communication between two employees in the ERO, New
                                York Field Office regarding the inadvertent disclosure of information pertaining to Plaintiff in
                                violation of 8 CFR § 208.6, including the attachment of a screenshot from the Enforce Alien Removal
                                Module (EARM) database.

                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the
                                information withheld in the body of this email.

                                A full redaction pursuant to FOIA Exemption (b)(7)(E) was made to an EARM database
                                screenshot/attachment.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(7)(E): The EARM database screenshot/attachment on this page was properly
    41-43/L64       Partial     withheld under FOIA exemption (b)(7)(E) because the database and information contained therein is
                                law enforcement sensitive. The information redacted is a screenshot of the EARM database, which is
                                a software application that supports ICE’s processing and removal of aliens from the United States and
                                                                                                                                       Freedom of
                                used primarily as a case management tool to track the status of alien removal proceedings. Exemption
                                                                                                                                       Information
                                (b)(7)(E) was applied to law enforcement sensitive information, the release of which could reveal
                                                                                                                                       Act 5 U.S.C.
                                techniques and/or procedures for law enforcement investigations or prosecutions or disclose guidelines
                                                                                                                                       § 552 (b)(5)
                                for law enforcement investigations or prosecutions which could reasonably be expected to risk
                                                                                                                                         (b)(7)(E)
                                circumvention of the law. Disclosure of codes, identifiers, and other law enforcement numbers could
                                assist third parties in deciphering the meanings of the codes and/or could enable an individual to
                                navigate, alter, and/or manipulate law enforcement databases were they to gain access to the system.
                                Disclosure of these techniques and practices could permit people seeking to violate or circumvent the
                                law by taking proactive steps to counter operational and investigative actions taken by ICE during
                                enforcement operations. Further, how law enforcement officers access databases, conduct
                                investigations, use systems, or allocate resources, are all law enforcement techniques and procedures
                                that are not commonly known. The disclosure of this information serves no public benefit and would
                                not assist the public in understanding how the agency is carrying out its statutory responsibilities.

                                Document Title: Email titled “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of         Freedom of
      43/L63        Partial
                                federal regulations protecting confidentiality of fear-based applications;” August 30, 2023 6:31PM    Information

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        #
                                                                                                                                        Act 5 U.S.C.
                                Document Description: Body of email.                                                                       § 552
                                                                                                                                         (b)(7)(E)
                                Redacted Information: On further consideration, ICE no longer claims Exemption 7(E) as to
                                the information withheld in the body of this email and will process it for release.

                                Document Title: Email titled “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” August 30, 2023 6:20PM
                                                                                                                                        Freedom of
                                                                                                                                        Information
                                Document Description: Body of email.
    43-44/L62       Partial                                                                                                             Act 5 U.S.C.
                                                                                                                                           § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the
                                                                                                                                           (b)(5)
                                information withheld in the body of this email and will process it for release.

                                Document Title: Email titled “RE: Allegation of Unlawful Disclosure - A216-173-723
                                (DETAINED);” September 14, 2023 9:41AM

                                Document Description: This is an email communication from an attorney in ICE OPLA NYC to
                                another attorney at ICE OPLA NYC regarding the recommended response to the inadvertent
                                disclosure of information pertaining to Plaintiff in violation of 8 CFR § 208.6.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative information.                                                                               Freedom of
                                                                                                                                        Information
      51/L61        Partial     Reason(s) for Redactions:                                                                               Act 5 U.S.C.
                                FOIA Exemption (b)(5): This Exemption protects the integrity of the deliberative or decision-making        § 552
                                processes within the agency by exempting from mandatory disclosure opinions, conclusions, and              (b)(5)
                                recommendations included within inter-agency or intra-agency memoranda, correspondence, or letters
                                through the deliberative process privilege. The deliberative process privilege protects the internal
                                deliberations of the government by exempting recommendations, analyses, and discussions
                                undertaken to aid agency decision making. The privilege serves to maintain the integrity of agency
                                decision-making processes by encouraging open and candid discussions. This email, between two
                                OPLA NYC attorneys, includes their preliminary recommendations on the response to inadvertent
                                disclosure as well as internal discussions and legal analysis of 8 CFR § 208.6, without settling on a
                                final course of action. Release of this material would serve to profoundly chill the decision-making

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                                process across ICE, where it is crucial that employees are able to freely express their opinion
                                regarding how best to represent the agency’s interests and which litigation strategy to pursue.
                                Disclosure would discourage the expression of candid opinions and inhibit the free and frank
                                exchange of information and ideas between agency personnel and between agencies and ensure
                                personnel would be less inclined to freely memorialize their thoughts regarding litigation strategies,
                                which would adversely affect the ability to ICE to effectively conduct government business.

                                Document Title: Email titled, “RE: Allegation of Unlawful Disclosure - AXXX-XXX-XXX
                                (DETAINED);” September 14, 2023 9:22 AM

                                Document Description: This is an email communication from a Senior Attorney at the Immigration
                                Law and Practice Division (ILPD) at OPLA HQ to a DCC at OPLA NYC providing their legal
                                analysis of whether the disclosure of information pertaining to Plaintiff violated 8 CFR § 208.6. The
                                ILPD and Government Information Law Division (GILD) group inbox are included on this
                                communication. An ACC at ICE OPLA NYC is copied on the communication.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative and attorney-client privileged information.
                                                                                                                                            Freedom of
                                Reason(s) for Redactions:
                                                                                                                                            Information
                                FOIA Exemption (b)(5):
    51-53/L60       Partial                                                                                                                 Act 5 U.S.C.
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                                                                                                                               § 552
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                                                                                                                               (b)(5)
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, sent to a DCC at OPLA from a Senior
                                Attorney at ILPD, provides their preliminary legal analysis of whether the disclosure of Plaintiff’s
                                information was in violation of 8 CFR § 208.6. Release of this material would serve to profoundly
                                chill the decision-making process across ICE, where it is crucial that employees are able to freely
                                express their opinion regarding how best to represent the agency’s interests and which litigation
                                strategy to pursue. Disclosure would discourage the expression of candid opinions and inhibit the free
                                and frank exchange of information and ideas between agency personnel and between agencies and
                                ensure personnel would be less inclined to freely memorialize their thoughts regarding litigation

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                                strategies, which would adversely affect the ability to ICE to effectively conduct government
                                business.

                                Additionally, the information redacted on these email communications also constitutes attorney-client
                                privileged information because ILPD provides legal advice and counsel to the OPLA field offices,
                                including OPLA NYC, on immigration and protection law concerns. In this email exchange, ILPD is
                                providing their legal opinion and advice to OPLA NYC, in their capacity as advisors to the field
                                offices, regarding their recommendations and analysis as to whether the disclosure of Plaintiff’s
                                information violated 8 CFR § 208.6. The attorney-client privilege protects confidential
                                communications between attorneys and their clients relating to a legal matter for which the client has
                                sought professional advice. The attorney-client privilege is not limited to protecting documents
                                created in anticipation of litigation. This privilege applies to facts that are divulged to the attorney and
                                encompasses the opinions given by the attorney based upon, and thus reflecting, those facts.
                                Attorney-client communications are shielded from disclosure to encourage a full and frank discussion
                                between the client and its legal advisor. If these communications, as covered by the attorney-client
                                privilege, were disclosed, this could adversely impact the free flow of advice and information and
                                could chill interactions and communications between agency employees and their legal counsel.
                                Document Title: Email titled, “RE: Allegation of Unlawful Disclosure - AXXX-XXX-XXX
                                (DETAINED);” September 14, 2023 8:52 AM

                                Document Description: This is an email communication from a Senior Attorney at ILPD at OPLA
                                HQ to a DCC at OPLA NYC. The ILPD and GILD group inbox are included on this communication.
      53/L59        Partial                                                                                                                        n/a
                                An ACC at ICE OPLA NYC and attorney in ILPD are copied on the communication.


                                Redacted Information: Redactions pursuant to FOIA Exemption (b)(5) were not made to this
                                record.
                                Document Title: Email titled “RE: Allegation of Unlawful Disclosure - A216-173-723
                                (DETAINED)” September 13, 2023 6:58PM
                                                                                                                                               Freedom of
                                                                                                                                               Information
                                Document Description: This is an email communication from an attorney a DCC at OPLA NYC to
    54-55/L58       Partial                                                                                                                    Act 5 U.S.C.
                                GILD and ILPD regarding the inadvertent disclosure of Plaintiff’s information and contains the
                                                                                                                                                  § 552
                                attorney’s legal analysis of whether the disclosure violates 8 CFR § 208.6. A Senior Attorney in
                                                                                                                                                  (b)(5)
                                OPLA NYC is copied on the communication.


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                 Withholding:                                                                                                                  Exemption(s)
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                 Full/Partial                                                                                                                    Applied
        #
                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative and attorney-client privileged information.

                                Upon further consideration, ICE no longer claims exemption (b)(5) as to the first three
                                paragraphs of the body of the email and will process it for release.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5): This Exemption protects the integrity of the deliberative or decision-making
                                processes within the agency by exempting from mandatory disclosure opinions, conclusions, and
                                recommendations included within inter-agency or intra-agency memoranda, correspondence, or letters
                                through the deliberative process privilege. The deliberative process privilege protects the internal
                                deliberations of the government by exempting recommendations, analyses, and discussions
                                undertaken to aid agency decision making. The privilege serves to maintain the integrity of agency
                                decision-making processes by encouraging open and candid discussions. This email, from an OPLA
                                NYC attorney to ILPD and GILD, includes their legal analysis and preliminary conclusions about
                                whether the inadvertent disclosure violates 8 CFR § 208.6. Release of this material would serve to
                                profoundly chill the decision-making process across ICE, where it is crucial that employees are able
                                to freely express their opinion regarding how best to represent the agency’s interests and which
                                litigation strategy to pursue. Disclosure would discourage the expression of candid opinions and
                                inhibit the free and frank exchange of information and ideas between agency personnel and between
                                agencies and ensure personnel would be less inclined to freely memorialize their thoughts regarding
                                litigation strategies, which would adversely affect the ability to ICE to effectively conduct
                                government business.

                                Additionally, the information redacted on these email communications also constitutes attorney-client
                                privileged information because ILPD provides legal advice and counsel to the OPLA field offices,
                                including OPLA NYC, on immigration and protection law concerns and GILD provides legal advice
                                and counsel to OPLA field offices on information disclosure and privacy law concerns. In a portion of
                                this email, an OPLA NYC DCC is requesting a legal analysis of 8 CFR § 208.6 and is laying out
                                pertinent facts for ILPD and GILD. The attorney-client privilege protects confidential
                                communications between attorneys and their clients relating to a legal matter for which the client has
                                sought professional advice. The attorney-client privilege is not limited to protecting documents
                                created in anticipation of litigation. This privilege applies to facts that are divulged to the attorney and
                                encompasses the opinions given by the attorney based upon, and thus reflecting, those facts.
                                Attorney-client communications are shielded from disclosure to encourage a full and frank discussion

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        #
                                between the client and its legal advisor. If these communications, as covered by the attorney-client
                                privilege, were disclosed, this could adversely impact the free flow of advice and information and
                                could chill interactions and communications between agency employees and their legal counsel.


                                Document Title: “U.S. Department of Homeland Security Non-Opposition to Motion to Reopen and
                                Remand Based on Inadvertent Disclosures”

                                Document Description: This is a draft motion to reopen and remand based on inadvertent
                                disclosures.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative information.

                                Upon further consideration, ICE no longer claims exemption (b)(5) as to portions of the first
                                and last page of the draft motion.

                                Reason(s) for Redactions:                                                                                  Freedom of
                                FOIA Exemption (b)(5): The information on these pages is properly withheld under FOIA Exemption            Information
    56-58/L57       Partial     (b)(5) as deliberative. The deliberative process privilege protects the internal deliberations of the      Act 5 U.S.C.
                                government by exempting recommendations, analyses, and discussions undertaken to aid agency                   § 552
                                decision making. The privilege serves to avoid public confusion generated by rationales or decisions          (b)(5)
                                not ultimately adopted by an agency and maintains the integrity of agency decision-making processes
                                by encouraging open and candid discussions. Here, the information redacted consists of a motion that
                                contains edits and comments by ICE OPLA attorneys. Draft documents, by their nature, are pre-
                                decisional and preliminary versions of what may later become a final document in whole or in part.
                                Oftentimes draft documents never evolve into a final form; material is withdrawn or discarded during
                                the decision-making process. It is also possible that the process by which a draft evolves into a final
                                document, in and of itself, can be considered deliberative. Release of the draft material would serve to
                                profoundly chill the decision-making process across ICE because it would discourage the expression
                                of candid opinions and inhibit the free and frank exchange of information and ideas between agency
                                personnel, and also ensure personnel would be less inclined to produce and circulate materials for the
                                consideration and comment of their peers.



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        #
                                Document Title: Email titled, “Draft memo for GILD re disclosure issue in 216173723;” September
                                12, 2023 6:52PM

                                Document Description: This is an email from an OPLA NYC attorney to the OPLA NYC DCC
                                regarding a draft memorandum to GILD.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative information.

                                Upon further consideration, ICE no longer claims exemption (b)(5) as to portions of the first
                                and last sentence of the email content.

                                Reason(s) for Redactions:                                                                              Freedom of
                                FOIA Exemption (b)(5): This Exemption protects the integrity of the deliberative or decision-making    Information
      73/L56        Partial     processes within the agency by exempting from mandatory disclosure opinions, conclusions, and          Act 5 U.S.C.
                                recommendations included within inter-agency or intra-agency memoranda, correspondence, or letters        § 552
                                through the deliberative process privilege. The deliberative process privilege protects the internal      (b)(5)
                                deliberations of the government by exempting recommendations, analyses, and discussions
                                undertaken to aid agency decision making. The privilege serves to maintain the integrity of agency
                                decision-making processes by encouraging open and candid discussions. This email, between OPLA
                                NYC attorneys, includes legal analysis and interpretation of 8 CFR § 208.6. Release of this material
                                would serve to profoundly chill the decision-making process across ICE, where it is crucial that
                                employees are able to freely express their opinion regarding how best to represent the agency’s
                                interests and which litigation strategy to pursue. Disclosure would discourage the expression of
                                candid opinions and inhibit the free and frank exchange of information and ideas between agency
                                personnel and between agencies and ensure personnel would be less inclined to freely memorialize
                                their thoughts regarding litigation strategies, which would adversely affect the ability to ICE to
                                effectively conduct government business.

                                Document Title: Memorandum titled, “John Doe AXXX XXX XXX; Possible disclosure in violation
                                                                                                                                       Freedom of
                                of 8 C.F.R. §§ 208.6, 1208.6.” September 12, 2023
                                                                                                                                       Information
    74-75/L55        Full                                                                                                              Act 5 U.S.C.
                                Document Description: This is a memorandum from a Senior Attorney at OPLA NYC to GILD
                                                                                                                                          § 552
                                regarding the inadvertent disclosure of information pertaining to Plaintiff in violation of 8 CFR §
                                                                                                                                          (b)(5)
                                208.6.

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                                Redacted Information: Full redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                attorney-client privileged information.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5): The information redacted in the memorandum constitutes attorney-client
                                privileged information because GILD provides legal advice and counsel to the OPLA field offices,
                                including OPLA NYC, on privacy and information disclosure concerns. The memorandum from the
                                Senior Attorney provides an explanation of the facts of the disclosure of Plaintiff’s information and
                                seeks counsel from GILD on the application of 8 CFR § 208.6 to the facts. The attorney-client
                                privilege applies in this instance because it is a memorandum from a Senior Attorney to GILD, asking
                                for legal counsel on an issue that GILD typically provides legal advice on. The attorney-client
                                privilege is not limited to protecting documents created in anticipation of litigation. This privilege
                                applies to facts that are divulged to the attorney and encompasses the opinions given by the attorney
                                based upon, and thus reflecting, those facts. Attorney-client communications are shielded from
                                disclosure to encourage a full and frank discussion between the client and its legal advisor. If these
                                communications, as covered by the attorney-client privilege, were disclosed, this could adversely
                                impact the free flow of advice and information and could chill interactions and communications
                                between agency employees and their legal counsel.

                                Document Title: Document titled “Joint Motion to Remand based on Disclosure Under 8 C.F.R.
                                § 208.6”                                                                                                 Freedom of
                                                                                                                                         Information
    76-80/L54        Full       Document Description: This is a joint motion to remand.                                                  Act 5 U.S.C.
                                                                                                                                            § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                  (b)(5)
                                information withheld and will re-process it for release.
                                Title: Email titled “RE: Unlawful disclosure of information regarding John Doe (xxx-xxx-xxx)’s
                                asylum claim;” September 26, 2023 4:59 PM                                                           Freedom of
                                                                                                                                    Information
      80/L53        Partial     Document Description: This is an email communication from the ICE OPLA NYC DCC to an                Act 5 U.S.C.
                                OPLA NYC Senior Attorney regarding Plaintiff’s immigration status and the inadvertent disclosure of    § 552
                                information pertaining to Plaintiff in violation of 8 CFR § 208.6.                                     (b)(5)



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    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                              Applied
        #
                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative information.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5): This Exemption protects the integrity of the deliberative or decision-making
                                processes within the agency by exempting from mandatory disclosure opinions, conclusions, and
                                recommendations included within inter-agency or intra-agency memoranda, correspondence or letters
                                through the deliberative process privilege. The deliberative process privilege protects the internal
                                deliberations of the government by exempting recommendations, analyses, and discussions
                                undertaken to aid agency decision making. The privilege serves to maintain the integrity of agency
                                decision-making processes by encouraging open and candid discussions. The series of email
                                exchanges between OPLA attorneys here consist of the exchange of legal analysis and opinions
                                regarding the contents of a draft clawback letter to the Nassau Supreme Court as a result of the
                                inadvertent disclosure of Plaintiff’s information in violation of 8 CFR § 208.6, during which the
                                OPLA attorney provides his legal opinion of possible next steps. The emails contain the OPLA
                                attorney’s preliminary analysis of the court’s posture and possible outcomes, without settling on a
                                final course of action. Release of this material would serve to profoundly chill the decision-making
                                process across ICE, where it is crucial that employees are able to freely express their opinion
                                regarding how best to represent the agency’s interests and which litigation strategy to pursue.
                                Disclosure would discourage the expression of candid opinions and inhibit the free and frank
                                exchange of information and ideas between agency personnel and between agencies and ensure
                                personnel would be less inclined to freely memorialize their thoughts regarding litigation strategies,
                                which would adversely affect the ability to ICE to effectively conduct government business.

                                Document Title: Email titled “RE: Unlawful disclosure of information regarding John Doe (xxx-xxx-
                                xxx)’s asylum claim;” September 26, 2023 3:27 PM

                                Document Description: This is an email communication from a Senior Attorney at ICE OPLA NYC              Freedom of
                                to the OPLA NYC DCC regarding Plaintiff’s immigration status and the inadvertent disclosure of           Information
    81-81/L52       Partial     information pertaining to Plaintiff in violation of 8 CFR § 208.6. An ACC in OPLA NYC is copied          Act 5 U.S.C.
                                on this communication.                                                                                      § 552
                                                                                                                                            (b)(5)
                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative information.


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                 Full/Partial                                                                                                                 Applied
        #
                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. Here, the email between OPLA NYC attorneys consists
                                of exchange of opinion regarding the consequences of a clawback letter to Nassau Supreme Court as a
                                result of the inadvertent disclosure of Plaintiff’s information in violation of 8 CFR § 208.6, during
                                which the OPLA Senior Attorney provides his legal opinion of possible next steps. The emails
                                contains the OPLA Senior Attorney’s preliminary analysis of the court’s posture and possible
                                outcomes, without settling on a final course of action. Release of this material would serve to
                                profoundly chill the decision-making process across ICE, where it is crucial that employees are able
                                to freely express their opinion regarding how best to represent the agency’s interests and which
                                litigation strategy to pursue. Disclosure would discourage the expression of candid opinions and
                                inhibit the free and frank exchange of information and ideas between agency personnel and between
                                agencies and ensure personnel would be less inclined to freely memorialize their thoughts regarding
                                litigation strategies, which would adversely affect the ability to ICE to effectively conduct
                                government business.
                                Document Title: Email titled “RE: Unlawful disclosure of information regarding John Doe (xxx-xxx-
                                xxx)’s asylum claim;” September 25, 2023 8:55 PM

                                Document Description: This is an email communication from the at ICE OPLA NYC DCC to an
                                OPLA NYC Senior Attorney regarding Plaintiff’s immigration status and the inadvertent disclosure of
                                                                                                                                 Freedom of
                                information pertaining to Plaintiff in violation of 8 CFR § 208.6. An ACC in OPLA NYC is copied
                                                                                                                                 Information
                                on this communication.
      82/L51        Partial                                                                                                      Act 5 U.S.C.
                                                                                                                                    § 552
                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                                                                                                                    (b)(5)
                                deliberative information.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5): This Exemption protects the integrity of the deliberative or decision-making
                                processes within the agency by exempting from mandatory disclosure opinions, conclusions, and

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                                recommendations included within inter-agency or intra-agency memoranda, correspondence or letters
                                through the deliberative process privilege. The deliberative process privilege protects the internal
                                deliberations of the government by exempting recommendations, analyses, and discussions
                                undertaken to aid agency decision making. The privilege serves to maintain the integrity of agency
                                decision-making processes by encouraging open and candid discussions. The series of email
                                exchanges between OPLA attorneys here consist of exchange of legal analysis and opinions regarding
                                the contents of a draft clawback letter to Nassau Supreme Court as a result of the inadvertent
                                disclosure of Plaintiff’s information in violation of 8 CFR § 208.6, during which the OPLA NYC
                                DCC provides his legal opinion of possible next steps. The emails contain the OPLA NYC DCC’s
                                preliminary analysis and directions, without settling on a final course of action. Release of this
                                material would serve to profoundly chill the decision-making process across ICE, where it is crucial
                                that employees are able to freely express their opinion regarding how best to represent the agency’s
                                interests and which litigation strategy to pursue. Disclosure would discourage the expression of
                                candid opinions and inhibit the free and frank exchange of information and ideas between agency
                                personnel and between agencies and ensure personnel would be less inclined to freely memorialize
                                their thoughts regarding litigation strategies, which would adversely affect the ability to ICE to
                                effectively conduct government business.

                                Document Title: Email titled “RE: Unlawful disclosure of information regarding John Doe (xxx-xxx-
                                xxx)’s asylum claim;” September 25, 2023 8:17 PM                                                       Freedom of
                                                                                                                                       Information
      83/L50        Partial     Document Description: Body of email.                                                                   Act 5 U.S.C.
                                                                                                                                          § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                (b)(5)
                                information withheld and will re-process it for release.
                                Document Title: Email titled “RE: Inadvertent Disclosure of Information Pertaining to John Doe;”
                                September 19, 2023 11:53 PM
                                                                                                                                       Freedom of
                                Document Description: This is an email communication from a DCC at ICE OPLA NYC to the
                                                                                                                                       Information
                                Chief Counsel at OPLA NYC regarding the disclosure of information pertaining to Plaintiff in
    90-91/L49       Partial                                                                                                            Act 5 U.S.C.
                                violation of 8 CFR § 208.6.
                                                                                                                                          § 552
                                                                                                                                          (b)(5)
                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative information.


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                 Withholding:                                                                                                               Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                 Applied
        #
                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, sent to the Chief Counsel of ICE OPLA
                                NYC from a DCC, discusses legal strategy in relation to the inadvertent disclosure of Plaintiff’s
                                information in 8 CFR § 208.6 to the Nassau County criminal court. The DCC outlines analysis of past
                                conversations with an Assistant District Attorney (ADA) and discusses his impressions and plans for
                                a forthcoming conversation. The email contains the OPLA attorney’s preliminary analysis, without
                                settling on a final course of action. Additionally, the DCC discusses remedial and future internal
                                undertakings to educate on and prevent future improper disclosure of this nature. Release of this
                                material would serve to profoundly chill the decision-making process across ICE, where it is crucial
                                that employees are able to freely express their opinion regarding how best to represent the agency’s
                                interests and which litigation strategy to pursue. Disclosure would discourage the expression of
                                candid opinions and inhibit the free and frank exchange of information and ideas between agency
                                personnel and between agencies and ensure personnel would be less inclined to freely memorialize
                                their thoughts regarding litigation strategies, which would adversely affect the ability to ICE to
                                effectively conduct government business.

                                Document Title: Email titled “RE: Inadvertent Disclosure of Information Pertaining to John Doe;”
                                September 19, 2023 12:15 PM

                                Document Description: This is an email communication from the Chief Counsel at ICE OPLA NYC
                                                                                                                                 Freedom of
                                to a DCC at OPLA NYC regarding the inadvertent disclosure of information pertaining to Plaintiff in
                                                                                                                                 Information
                                violation of 8 CFR § 208.6.
      91/L48        Partial                                                                                                      Act 5 U.S.C.
                                                                                                                                    § 552
                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                                                                                                                    (b)(5)
                                deliberative information.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):

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                 Withholding:                                                                                                               Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                 Applied
        #
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, sent to the DCC from the Chief Counsel, is
                                asking about certain aspects of the strategy and eventual legal posture to be taken in the forthcoming
                                11:53 p.m. email from the DCC. Additionally, the Chief Counsel expresses a need for remedial and
                                future internal undertakings to educate on and prevent future improper disclosure of this nature, also
                                to be elaborated on in the forthcoming email. On either topic, a final course of action is not decided.
                                Release of this material would serve to profoundly chill the decision-making process across ICE,
                                where it is crucial that employees are able to freely express their opinion regarding how best to
                                represent the agency’s interests and which litigation strategy to pursue. Disclosure would discourage
                                the expression of candid opinions and inhibit the free and frank exchange of information and ideas
                                between agency personnel and between agencies and ensure personnel would be less inclined to freely
                                memorialize their thoughts regarding litigation strategies, which would adversely affect the ability to
                                ICE to effectively conduct government business.

                                Document Title: Email titled “(b)(7) document request in matter of John Doe, AXXX XXX XXX;”
                                May 30, 2023 7:16 AM

                                Document Description: This is an email communication from the OPLA NYC Chief Counsel to an
                                ADA from the Office of the District Attorney, Nassau County, regarding documents being prepared
    94-95/L47       Partial                                                                                                                     n/a
                                by OPLA in regard to the inadvertent disclosure of information pertaining to Plaintiff in violation of 8
                                CFR § 208.6.

                                Redacted Information: Redactions pursuant to FOIA Exemption (b)(5) were not made to this
                                record.
                                Document Title: Email titled “RE: Unlawful disclosure of information regarding John Doe (XXX-
                                                                                                                                            Freedom of
                                XXX-XXX)’s asylum claim;” September 18, 2023, at 4:38 PM
                                                                                                                                            Information
       100-
                    Partial                                                                                                                 Act 5 U.S.C.
     101/L46                    Document Description: This is an email communication from the OPLA NYC DCC to the OPLA
                                                                                                                                               § 552
                                NYC Chief Counsel regarding ICE correspondence pertaining to the inadvertent disclosure of
                                                                                                                                               (b)(5)
                                information pertaining to Plaintiff in violation of 8 CFR § 208.6.

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       Bates
                 Withholding:                                                                                                           Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                             Applied
        #

                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the
                                information withheld and will re-process it for release.
                                Document Title: Email titled “RE: Unlawful disclosure of information regarding John Doe (XXX-
                                XXX-XXX)’s asylum claim;” September 17, 2023 10:19 PM
                                                                                                                                        Freedom of
                                Document Description: This is an email communication between the OPLA NYC DCC and Chief                 Information
     101/L45        Partial     Counsel regarding ICE correspondence pertaining to the inadvertent disclosure of information            Act 5 U.S.C.
                                pertaining to Plaintiff in violation of 8 CFR § 208.6.                                                     § 552
                                                                                                                                           (b)(5)
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the
                                information withheld and will re-process it for release.
                                Document Title: Email titled “RE: Unlawful disclosure of information regarding John Doe (XXX-
                                XXX-XXX)’s asylum claim;” September 17, 2023 3:29 PM
                                                                                                                                        Freedom of
                                Document Description: This is an email communication between the OPLA NYC DCC and Chief                 Information
       101-
                    Partial     Counsel regarding ICE correspondence pertaining to the inadvertent disclosure of information            Act 5 U.S.C.
     102/L44
                                pertaining to Plaintiff in violation of 8 CFR § 208.6.                                                     § 552
                                                                                                                                           (b)(5)
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the
                                information withheld and will re-process it for release.
                                Document Title: Email titled “RE: Unlawful disclosure of information regarding John Doe (XXX-
                                XXX-XXX)’s asylum claim;” September 15, 2023 5:31 PM

                                Document Description: This is an email communication from a DCC at ICE OPLA NYC to the
                                Chief Counsel regarding the disclosure of information pertaining to Plaintiff in violation of 8 CFR §
                                                                                                                                        Freedom of
                                208.6 and ICE’s response to the disclosure.
                                                                                                                                        Information
       102-
                    Partial                                                                                                             Act 5 U.S.C.
     103/L43                    Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                                                                                                                           § 552
                                deliberative information.
                                                                                                                                           (b)(5)
                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations

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                 Withholding:                                                                                                               Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                 Applied
        #
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, between the OPLA NYC DCC and Chief
                                Counsel, includes the DCC’s preliminary recommendations on the response to inadvertent disclosure
                                as well as internal discussions and legal analysis of 8 CFR § 208.6, without settling on a final course
                                of action. Release of this material would serve to profoundly chill the decision-making process
                                across ICE, where it is crucial that employees are able to freely express their opinion regarding how
                                best to represent the agency’s interests and which litigation strategy to pursue. Disclosure would
                                discourage the expression of candid opinions and inhibit the free and frank exchange of information
                                and ideas between agency personnel and between agencies and ensure personnel would be less
                                inclined to freely memorialize their thoughts regarding litigation strategies, which would adversely
                                affect the ability to ICE to effectively conduct government business.

                                Document Title: Email titled “RE: Unlawful disclosure of information regarding John Doe (XXX-
                                XXX-XXX)’s asylum claim;” September 11, 2023 6:42 PM                                                        Freedom of
                                                                                                                                            Information
     103/L42        Partial     Document Description: Body of email                                                                         Act 5 U.S.C.
                                                                                                                                               § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                     (b)(5)
                                information withheld and will re-process it for release.
                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 14, 2023 7:01PM       Freedom of
                                                                                                                                            Information
     124/L41        Partial     Document Description: Body of email                                                                         Act 5 U.S.C.
                                                                                                                                               § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                     (b)(5)
                                information withheld and will re-process it for release.
                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                                                                                                                            Freedom of
                                federal regulations protecting confidentiality of fear-based applications;” September 14, 2023 6:19PM
                                                                                                                                            Information
       124-
                    Partial                                                                                                                 Act 5 U.S.C.
     125/L40                    Document Description: This is an email communication from a DCC at ICE OPLA NYC to an ACC
                                                                                                                                               § 552
                                regarding the disclosure of information pertaining to Plaintiff in violation of 8 CFR § 208.6 and ICE’s
                                                                                                                                               (b)(5)
                                response to the disclosure.

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       Bates
                 Withholding:                                                                                                               Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                 Applied
        #

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative information.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, between the OPLA NYC DCC and ACC,
                                includes the DCC’s preliminary recommendations on the response to inadvertent disclosure as well as
                                internal discussions and legal analysis of 8 CFR § 208.6, without settling on a final course of action.
                                Release of this material would serve to profoundly chill the decision-making process across ICE,
                                where it is crucial that employees are able to freely express their opinion regarding how best to
                                represent the agency’s interests and which litigation strategy to pursue. Disclosure would discourage
                                the expression of candid opinions and inhibit the free and frank exchange of information and ideas
                                between agency personnel and between agencies and ensure personnel would be less inclined to freely
                                memorialize their thoughts regarding litigation strategies, which would adversely affect the ability to
                                ICE to effectively conduct government business.

                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 11, 2023 10:12
                                AM
                                                                                                                                            Freedom of
                                Document Description: This is an email communication from a DCC at ICE OPLA NYC to the ACC
                                                                                                                                            Information
       125-                     regarding the disclosure of information pertaining to Plaintiff in violation of 8 CFR § 208.6.
                    Partial                                                                                                                 Act 5 U.S.C.
     126/L39
                                                                                                                                               § 552
                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                                                                                                                               (b)(5)
                                deliberative information.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):

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                 Withholding:                                                                                                               Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                 Applied
        #
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, between the OPLA NYC DCC and ACC,
                                includes the DCC’s preliminary legal analysis of whether the disclosure of Plaintiff’s information
                                violates 8 CFR § 208.6, without settling on a final determination. Release of this material would
                                serve to profoundly chill the decision-making process across ICE, where it is crucial that employees
                                are able to freely express their opinion regarding how best to represent the agency’s interests and
                                which litigation strategy to pursue. Disclosure would discourage the expression of candid opinions
                                and inhibit the free and frank exchange of information and ideas between agency personnel and
                                between agencies and ensure personnel would be less inclined to freely memorialize their thoughts
                                regarding litigation strategies, which would adversely affect the ability to ICE to effectively conduct
                                government business.


                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 6, 2023 12:08
                                PM

                                Document Description: This is an email communication from the ACC at ICE OPLA NYC to the
                                DCC regarding the disclosure of information pertaining to Plaintiff in violation of 8 CFR § 208.6.
                                                                                                                                            Freedom of
                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold            Information
       127-
                    Partial     deliberative information.                                                                                   Act 5 U.S.C.
     128/L38
                                                                                                                                               § 552
                                Reason(s) for Redactions:                                                                                      (b)(5)
                                FOIA Exemption (b)(5):
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency

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       Bates
                 Withholding:                                                                                                               Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                 Applied
        #
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, between the OPLA NYC DCC and ACC,
                                includes the DCC’s preliminary legal analysis of whether the disclosure of Plaintiff’s information
                                violates 8 CFR § 208.6, without settling on a final determination. Release of this material would
                                serve to profoundly chill the decision-making process across ICE, where it is crucial that employees
                                are able to freely express their opinion regarding how best to represent the agency’s interests and
                                which litigation strategy to pursue. Disclosure would discourage the expression of candid opinions
                                and inhibit the free and frank exchange of information and ideas between agency personnel and
                                between agencies and ensure personnel would be less inclined to freely memorialize their thoughts
                                regarding litigation strategies, which would adversely affect the ability to ICE to effectively conduct
                                government business.

                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 6, 2023 11:12
                                AM

                                Document Description: This is an email communication from a DCC at ICE OPLA NYC to an ACC
                                regarding the disclosure of information pertaining to Plaintiff in violation of 8 CFR § 208.6.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative information.
                                                                                                                                            Freedom of
                                Reason(s) for Redactions:                                                                                   Information
     128/L37        Partial     FOIA Exemption (b)(5):                                                                                      Act 5 U.S.C.
                                This Exemption protects the integrity of the deliberative or decision-making processes within the              § 552
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations                       (b)(5)
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, between the OPLA NYC DCC and an ACC,
                                is a discussion about the inadvertent disclosure and recommendations regarding next steps to
                                determine whether the disclosure was proper or was in violation of 8 CFR § 208.6. Release of this
                                material would serve to profoundly chill the decision-making process across ICE, where it is crucial
                                that employees are able to freely express their opinion regarding how best to represent the agency’s

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                 Withholding:                                                                                                            Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                              Applied
        #
                                interests and which litigation strategy to pursue. Disclosure would discourage the expression of
                                candid opinions and inhibit the free and frank exchange of information and ideas between agency
                                personnel and between agencies and ensure personnel would be less inclined to freely memorialize
                                their thoughts regarding litigation strategies, which would adversely affect the ability to ICE to
                                effectively conduct government business.

                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 5, 2023 9:37 AM    Freedom of
                                                                                                                                         Information
     129/L36        Partial     Document Description: Body of email                                                                      Act 5 U.S.C.
                                                                                                                                            § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                  (b)(5)
                                information withheld and will re-process it for release.
                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 1, 2023 4:11 PM    Freedom of
                                                                                                                                         Information
     129/L35        Partial     Document Description: Body of email                                                                      Act 5 U.S.C.
                                                                                                                                            § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                  (b)(5)
                                information withheld and will re-process it for release.
                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 1, 2023 3:39 PM

                                Document Description: This is an email communication from a DCC at OPLA Batavia to an
                                attorney at OPLA NYC regarding the disclosure of information pertaining to Plaintiff in violation of 8
                                CFR § 208.6.                                                                                             Freedom of
                                                                                                                                         Information
     130/L34        Partial     Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold         Act 5 U.S.C.
                                deliberative information.                                                                                   § 552
                                                                                                                                            (b)(5)
                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the

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                 Withholding:                                                                                                               Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                 Applied
        #
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, from the DCC at OPLA Buffalo (Batavia) to
                                the attorney at OPLA NYC, recommends a response to Plaintiff’s release request. Release of this
                                material would serve to profoundly chill the decision-making process across ICE, where it is crucial
                                that employees are able to freely express their opinion regarding how best to represent the agency’s
                                interests and which litigation strategy to pursue. Disclosure would discourage the expression of
                                candid opinions and inhibit the free and frank exchange of information and ideas between agency
                                personnel and between agencies and ensure personnel would be less inclined to freely memorialize
                                their thoughts regarding litigation strategies, which would adversely affect the ability to ICE to
                                effectively conduct government business.

                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” August 31, 2023 5:27 PM         Freedom of
                                                                                                                                            Information
       130-
                    Partial     Document Description: Body of email                                                                         Act 5 U.S.C.
     131/L33
                                                                                                                                               § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                     (b)(5)
                                information withheld and will re-process it for release.
                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 14, 2023 10:59
                                                                                                                                            Freedom of
                                AM
                                                                                                                                            Information
     133/L32        Partial                                                                                                                 Act 5 U.S.C.
                                Document Description: Body of email
                                                                                                                                               § 552
                                                                                                                                               (b)(5)
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the
                                information withheld and will re-process it for release.
                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                                                                                                                            Freedom of
                                federal regulations protecting confidentiality of fear-based applications;” September 14, 2023 10:57
                                                                                                                                            Information
                                AM
     133/L31        Partial                                                                                                                 Act 5 U.S.C.
                                                                                                                                               § 552
                                Document Description: Body of email
                                                                                                                                               (b)(5)



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                 Withholding:                                                                                                               Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                 Applied
        #
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the
                                information withheld and will re-process it for release.
                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 14, 2023 10:53
                                                                                                                                            Freedom of
                                AM
                                                                                                                                            Information
     133/L30        Partial                                                                                                                 Act 5 U.S.C.
                                Document Description: Body of email
                                                                                                                                               § 552
                                                                                                                                               (b)(5)
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the
                                information withheld and will re-process it for release.
                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 14, 2023 10:50
                                AM

                                Document Description: This is an email communication between three DCCs at OPLA NYC
                                regarding the legal authorities for the detention of Plaintiff John Doe.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative information.

                                Reason(s) for Redactions:                                                                                   Freedom of
                                FOIA Exemption (b)(5):                                                                                      Information
     133/L29        Partial     This Exemption protects the integrity of the deliberative or decision-making processes within the           Act 5 U.S.C.
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations                       § 552
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the                  (b)(5)
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, between the DCCs at OPLA NYC, includes
                                a DCCs opinions regarding the legal authority for detention of Plaintiff and discusses alternative
                                arguments. Release of this material would serve to profoundly chill the decision-making process
                                across ICE, where it is crucial that employees are able to freely express their opinion regarding how
                                best to represent the agency’s interests and which litigation strategy to pursue. Disclosure would
                                discourage the expression of candid opinions and inhibit the free and frank exchange of information
                                and ideas between agency personnel and between agencies and ensure personnel would be less

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                 Full/Partial                                                                                                                 Applied
        #
                                inclined to freely memorialize their thoughts regarding litigation strategies, which would adversely
                                affect the ability to ICE to effectively conduct government business.
                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 14, 2023 10:50
                                AM

                                Document Description: This is an email communication between three DCCs at OPLA NYC
                                regarding the legal authorities for the detention of Plaintiff John Doe.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative information.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):                                                                                      Freedom of
                                This Exemption protects the integrity of the deliberative or decision-making processes within the           Information
     134/L28        Partial     agency by exempting from mandatory disclosure opinions, conclusions, and recommendations                    Act 5 U.S.C.
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the                  § 552
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of      (b)(5)
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, between the DCCs at OPLA NYC, includes
                                a DCCs opinions regarding the legal authority for detention of Plaintiff and discusses alternative
                                arguments. Release of this material would serve to profoundly chill the decision-making process
                                across ICE, where it is crucial that employees are able to freely express their opinion regarding how
                                best to represent the agency’s interests and which litigation strategy to pursue. Disclosure would
                                discourage the expression of candid opinions and inhibit the free and frank exchange of information
                                and ideas between agency personnel and between agencies and ensure personnel would be less
                                inclined to freely memorialize their thoughts regarding litigation strategies, which would adversely
                                affect the ability to ICE to effectively conduct government business.
                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                                                                                                                            Freedom of
                                federal regulations protecting confidentiality of fear-based applications;” September 14, 2023
                                                                                                                                            Information
       134-                     10:03AM
                    Partial                                                                                                                 Act 5 U.S.C.
     135/L27
                                                                                                                                               § 552
                                Document Description: This is an email communication between three DCCs at OPLA NYC
                                                                                                                                               (b)(5)
                                regarding the legal authorities for the detention of Plaintiff John Doe.

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                 Withholding:                                                                                                               Exemption(s)
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                 Full/Partial                                                                                                                 Applied
        #

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative information.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, between the DCCs at OPLA NYC, includes
                                a DCCs opinions regarding the legal authority for detention of Plaintiff and discusses alternative
                                arguments. Release of this material would serve to profoundly chill the decision-making process
                                across ICE, where it is crucial that employees are able to freely express their opinion regarding how
                                best to represent the agency’s interests and which litigation strategy to pursue. Disclosure would
                                discourage the expression of candid opinions and inhibit the free and frank exchange of information
                                and ideas between agency personnel and between agencies and ensure personnel would be less
                                inclined to freely memorialize their thoughts regarding litigation strategies, which would adversely
                                affect the ability to ICE to effectively conduct government business.
                                Document Title: Email titled, “RE: A# xxx-xxx-xxx/URGENT: Unlawful disclosures & violations of
                                federal regulations protecting confidentiality of fear-based applications;” September 13, 2023 9:42PM

                                Document Description: This is an email communication between three DCCs at OPLA NYC
                                regarding the legal authorities for the detention of Plaintiff John Doe.
                                                                                                                                            Freedom of
                                                                                                                                            Information
       135-                     Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                    Partial                                                                                                                 Act 5 U.S.C.
     136/L26                    deliberative information.
                                                                                                                                               § 552
                                                                                                                                               (b)(5)
                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the

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                 Withholding:                                                                                                               Exemption(s)
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                 Full/Partial                                                                                                                 Applied
        #
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, between the DCCs at OPLA NYC, includes
                                a DCCs opinions regarding the legal authority for detention of Plaintiff and discusses alternative
                                arguments. Release of this material would serve to profoundly chill the decision-making process
                                across ICE, where it is crucial that employees are able to freely express their opinion regarding how
                                best to represent the agency’s interests and which litigation strategy to pursue. Disclosure would
                                discourage the expression of candid opinions and inhibit the free and frank exchange of information
                                and ideas between agency personnel and between agencies and ensure personnel would be less
                                inclined to freely memorialize their thoughts regarding litigation strategies, which would adversely
                                affect the ability to ICE to effectively conduct government business.
                                Document Title: Email titled, “RE: Allegation of Unlawful Disclosure - AXXX-XXX-XXX
                                (DETAINED);” October 10, 2023 4:49PM
                                                                                                                                            Freedom of
                                Document Description: This is an email communication between three DCCs at OPLA NYC
                                                                                                                                            Information
                                regarding the legal authorities for the detention of Plaintiff John Doe.
     142/L25        Partial                                                                                                                 Act 5 U.S.C.
                                                                                                                                               § 552
                                Document Description: Body of email
                                                                                                                                               (b)(5)
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the
                                information withheld and will re-process it for release.
                                Document Title: Email titled, “RE: Allegation of Unlawful Disclosure - AXXX-XXX-XXX
                                (DETAINED);” October 10, 2023 4:39PM                                                                        Freedom of
                                                                                                                                            Information
       142-
                    Partial     Document Description: Body of email                                                                         Act 5 U.S.C.
     143/L24
                                                                                                                                               § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                     (b)(5)
                                information withheld and will re-process it for release.
                                Document Title: Email titled, “RE: Allegation of Unlawful Disclosure - AXXX-XXX-XXX                         Freedom of
                                (DETAINED);” October 10, 2023 3:54PM                                                                        Information
       143-
                    Partial                                                                                                                 Act 5 U.S.C.
      44/L23
                                Document Description: Body of email                                                                            § 552
                                                                                                                                               (b)(5)


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                 Withholding:                                                                                                               Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                 Applied
        #
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the
                                information withheld and will re-process it for release.
                                Document Title: Email titled, “RE: Allegation of Unlawful Disclosure - AXXX-XXX-XXX
                                (DETAINED);” September 21, 2023 8:36PM                                                                      Freedom of
                                                                                                                                            Information
     144/L22        Partial     Document Description: Body of email                                                                         Act 5 U.S.C.
                                                                                                                                               § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                     (b)(5)
                                information withheld and will re-process it for release.
                                Document Title: Email titled, “RE: Allegation of Unlawful Disclosure - AXXX-XXX-XXX
                                (DETAINED);” September 19, 2023 3:30PM

                                Document Description: This is an email communication from a Senior Attorney at ILPD at OPLA
                                HQ to a DCC at OPLA NYC regarding the response to the inadvertent disclosure of information
                                pertaining to Plaintiff in violation of 8 CFR § 208.6. Another ILPD attorney and the GILD group
                                inbox are included on this communication. An ACC at ICE OPLA NYC is copied on the
                                communication.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative and attorney-client privileged information.
                                                                                                                                            Freedom of
                                                                                                                                            Information
       144-                     Reason(s) for Redactions:
                    Partial                                                                                                                 Act 5 U.S.C.
     145/L21                    FOIA Exemption (b)(5):
                                                                                                                                               § 552
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                                                                                                                               (b)(5)
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, sent to a DCC at OPLA from a Senior
                                Attorney at ILPD, is responding to the specific questions directed towards them in this email
                                communication as subject-matter specialist advisors at OPLA HQ. The communication concerns
                                response option that OPLA NYC can consider taking to address the inadvertent disclosure. Release of
                                this material would serve to profoundly chill the decision-making process across ICE, where it is
                                crucial that employees are able to freely express their opinion regarding how best to represent the

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                 Withholding:                                                                                                                 Exemption(s)
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                 Full/Partial                                                                                                                   Applied
        #
                                agency’s interests and which litigation strategy to pursue. Disclosure would discourage the expression
                                of candid opinions and inhibit the free and frank exchange of information and ideas between agency
                                personnel and between agencies and ensure personnel would be less inclined to freely memorialize
                                their thoughts regarding litigation strategies, which would adversely affect the ability to ICE to
                                effectively conduct government business.

                                Additionally, the information redacted on these email communications also constitutes attorney-client
                                privileged information because ILPD provides legal advice and counsel to the OPLA field offices,
                                including OPLA NYC, on immigration and protection law concerns. In this email exchange, ILPD is
                                providing their legal opinion and advice to OPLA NYC, in their capacity as advisors to the field
                                offices, regarding the strength of the legal arguments and proper procedural next steps. The attorney-
                                client privilege protects confidential communications between attorneys and their clients relating to a
                                legal matter for which the client has sought professional advice. The attorney-client privilege is not
                                limited to protecting documents created in anticipation of litigation. This privilege applies to facts that
                                are divulged to the attorney and encompasses the opinions given by the attorney based upon, and thus
                                reflecting, those facts. Attorney-client communications are shielded from disclosure to encourage a
                                full and frank discussion between the client and its legal advisor. If these communications, as covered
                                by the attorney-client privilege, were disclosed, this could adversely impact the free flow of advice
                                and information and could chill interactions and communications between agency employees and
                                their legal counsel.


                                Document Title: Email titled, “RE: Allegation of Unlawful Disclosure - AXXX-XXX-XXX
                                (DETAINED);” September 19, 2023 1:43PM

                                Document Description: This is an email communication from the OPLA NYC DCC to attorneys at
                                                                                                                                 Freedom of
                                ILPD and GILD regarding the response to the inadvertent disclosure of information pertaining to
                                                                                                                                 Information
       145-                     Plaintiff in violation of 8 CFR § 208.6. An ACC at ICE OPLA NYC is copied on the communication.
                    Partial                                                                                                      Act 5 U.S.C.
     146/L20
                                                                                                                                    § 552
                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                                                                                                                    (b)(5)
                                deliberative and attorney-client privileged information.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):


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       Bates
                 Withholding:                                                                                                                  Exemption(s)
    Stamp Page                                        Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                    Applied
        #
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, sent from a DCC at OPLA NYC to attorneys
                                at ILPD and GILD, is seeking legal advice from the pertinent divisions of OPLA HQ in their capacity
                                as subject-matter expert advisors to the field office. The question is regarding whether there are
                                additional legal obligations that OPLA NYC may need to take as a result of the inadvertent
                                disclosure. Release of this material would serve to profoundly chill the decision-making process
                                across ICE, where it is crucial that employees are able to freely express their opinion regarding how
                                best to represent the agency’s interests and which litigation strategy to pursue. Disclosure would
                                discourage the expression of candid opinions and inhibit the free and frank exchange of information
                                and ideas between agency personnel and between agencies and ensure personnel would be less
                                inclined to freely memorialize their thoughts regarding litigation strategies, which would adversely
                                affect the ability to ICE to effectively conduct government business.

                                Additionally, the information redacted on these email communications also constitutes attorney-client
                                privileged information because ILPD provides legal advice and counsel to the OPLA field offices,
                                including OPLA NYC, on immigration and protection law concerns and GILD provides legal advice
                                and counsel to OPLA field offices on information disclosure and privacy law concerns. In this email,
                                an OPLA NYC DCC is requesting advice on whether it has additional obligations and is laying out
                                pertinent facts for ILPD and GILD. The attorney-client privilege protects confidential
                                communications between attorneys and their clients relating to a legal matter for which the client has
                                sought professional advice. The attorney-client privilege is not limited to protecting documents
                                created in anticipation of litigation. This privilege applies to facts that are divulged to the attorney and
                                encompasses the opinions given by the attorney based upon, and thus reflecting, those facts.
                                Attorney-client communications are shielded from disclosure to encourage a full and frank discussion
                                between the client and its legal advisor. If these communications, as covered by the attorney-client
                                privilege, were disclosed, this could adversely impact the free flow of advice and information and
                                could chill interactions and communications between agency employees and their legal counsel.




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                 Withholding:                                                                                                               Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                 Applied
        #
                                Document Title: Email titled, “RE: Allegation of Unlawful Disclosure - AXXX-XXX-XXX
                                (DETAINED);” September 15, 2023 2:27PM                                                                      Freedom of
                                                                                                                                            Information
       145-
                    Partial     Document Description: Body of email                                                                         Act 5 U.S.C.
     146/L19
                                                                                                                                               § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                     (b)(5)
                                information withheld and will re-process it for release.
                                Document Title: Email titled, “RE: Allegation of Unlawful Disclosure - AXXX-XXX-XXX
                                (DETAINED);” September 14, 2023 5:03PM

                                Document Description: This is an email communication from a Senior Attorney at ILPD at OPLA
                                HQ to a DCC at OPLA NYC regarding the legal analysis pertaining to the inadvertent disclosure of
                                information pertaining to Plaintiff in violation of 8 CFR § 208.6. Another ILPD attorney and the
                                GILD group inbox are included on this communication. An ACC at ICE OPLA NYC is copied on the
                                communication.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative and attorney-client privileged information.
                                                                                                                                            Freedom of
                                Reason(s) for Redactions:
                                                                                                                                            Information
       147-                     FOIA Exemption (b)(5):
                    Partial                                                                                                                 Act 5 U.S.C.
     149/L18                    This Exemption protects the integrity of the deliberative or decision-making processes within the
                                                                                                                                               § 552
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                                                                                                                               (b)(5)
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, sent to a DCC at OPLA from a Senior
                                Attorney at ILPD, is responding to the specific questions directed towards them in this email
                                communication as subject-matter specialist advisors at OPLA HQ. The communication includes a
                                legal analysis of 8 CFR § 208.6 and recommendations to OPLA NYC about responding to inadvertent
                                disclosure. Release of this material would serve to profoundly chill the decision-making process
                                across ICE, where it is crucial that employees are able to freely express their opinion regarding how
                                best to represent the agency’s interests and which litigation strategy to pursue. Disclosure would
                                discourage the expression of candid opinions and inhibit the free and frank exchange of information

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                 Withholding:                                                                                                                 Exemption(s)
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                 Full/Partial                                                                                                                   Applied
        #
                                and ideas between agency personnel and between agencies and ensure personnel would be less
                                inclined to freely memorialize their thoughts regarding litigation strategies, which would adversely
                                affect the ability to ICE to effectively conduct government business.

                                Additionally, the information redacted on these email communications also constitutes attorney-client
                                privileged information because ILPD provides legal advice and counsel to the OPLA field offices,
                                including OPLA NYC, on immigration and protection law concerns. In this email exchange, ILPD is
                                providing their legal opinion and advice to OPLA NYC, in their capacity as advisors to the field
                                offices, regarding the strength of the legal arguments and proper procedural next steps. The attorney-
                                client privilege protects confidential communications between attorneys and their clients relating to a
                                legal matter for which the client has sought professional advice. The attorney-client privilege is not
                                limited to protecting documents created in anticipation of litigation. This privilege applies to facts that
                                are divulged to the attorney and encompasses the opinions given by the attorney based upon, and thus
                                reflecting, those facts. Attorney-client communications are shielded from disclosure to encourage a
                                full and frank discussion between the client and its legal advisor. If these communications, as covered
                                by the attorney-client privilege, were disclosed, this could adversely impact the free flow of advice
                                and information and could chill interactions and communications between agency employees and
                                their legal counsel.
                                Document Title: Email titled, “RE: Allegation of Unlawful Disclosure - AXXX-XXX-XXX
                                (DETAINED);” September 14, 2023 1:20PM

                                Document Description: This is an email communication from the OPLA NYC DCC to attorneys at
                                ILPD and GILD regarding the response to the inadvertent disclosure of information pertaining to
                                Plaintiff in violation of 8 CFR § 208.6. An ACC at ICE OPLA NYC is copied on the communication.
                                                                                                                                          Freedom of
                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold Information
       150-
                    Partial     deliberative and attorney-client privileged information.                                                  Act 5 U.S.C.
     151/L17
                                                                                                                                             § 552
                                Reason(s) for Redactions:                                                                                    (b)(5)
                                FOIA Exemption (b)(5):
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency

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                 Withholding:                                                                                                              Exemption(s)
    Stamp Page                                       Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                Applied
        #
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, sent from a DCC at OPLA NYC to attorneys
                                at ILPD and GILD, is seeking legal advice from the pertinent divisions of OPLA HQ in their capacity
                                as subject-matter expert advisors to the field office. The DCC is asking ILPD and GILD for their legal
                                analysis of 8 CFR § 208.6 and whether Plaintiff’s information was released in violation of the statute.
                                Release of this material would serve to profoundly chill the decision-making process across ICE,
                                where it is crucial that employees are able to freely express their opinion regarding how best to
                                represent the agency’s interests and which litigation strategy to pursue. Disclosure would discourage
                                the expression of candid opinions and inhibit the free and frank exchange of information and ideas
                                between agency personnel and between agencies and ensure personnel would be less inclined to freely
                                memorialize their thoughts regarding litigation strategies, which would adversely affect the ability to
                                ICE to effectively conduct government business.

                                Additionally, the information redacted on these email communications also constitutes attorney-client
                                privileged information because ILPD provides legal advice and counsel to the OPLA field offices,
                                including OPLA NYC, on immigration and protection law concerns and GILD provides legal advice
                                and counsel to OPLA field offices on information disclosure and privacy law concerns. In this email,
                                an OPLA NYC DCC is requesting a legal analysis of 8 CFR § 208.6 and is laying out pertinent facts
                                for ILPD and GILD. The attorney-client privilege protects confidential communications between
                                attorneys and their clients relating to a legal matter for which the client has sought professional
                                advice. The attorney-client privilege is not limited to protecting documents created in anticipation of
                                litigation. This privilege applies to facts that are divulged to the attorney and encompasses the
                                opinions given by the attorney based upon, and thus reflecting, those facts. Attorney-client
                                communications are shielded from disclosure to encourage a full and frank discussion between the
                                client and its legal advisor. If these communications, as covered by the attorney-client privilege, were
                                disclosed, this could adversely impact the free flow of advice and information and could chill
                                interactions and communications between agency employees and their legal counsel.

                                Document Title: Email titled, “RE: Allegation of Unlawful Disclosure - AXXX-XXX-XXX
                                (DETAINED);” September 14, 2023 9:22 AM                                                                    Freedom of
                                                                                                                                           Information
       152-
                    Partial     Document Description: This is an email communication from a Senior Attorney at ILPD at OPLA                Act 5 U.S.C.
     153/L16
                                HQ to a DCC at OPLA NYC providing their legal analysis of whether the disclosure of information               § 552
                                pertaining to Plaintiff violated 8 CFR § 208.6. The ILPD and GILD group inbox are included on this            (b)(5)
                                communication. An ACC at ICE OPLA NYC is copied on the communication.

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                 Withholding:                                                                                                                  Exemption(s)
    Stamp Page                                        Description of Records and Redactions, and Reasons for Redactions
                 Full/Partial                                                                                                                    Applied
        #

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative and attorney-client privileged information.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5):
                                This Exemption protects the integrity of the deliberative or decision-making processes within the
                                agency by exempting from mandatory disclosure opinions, conclusions, and recommendations
                                included within inter-agency or intra-agency memoranda, correspondence or letters through the
                                deliberative process privilege. The deliberative process privilege protects the internal deliberations of
                                the government by exempting recommendations, analyses, and discussions undertaken to aid agency
                                decision making. The privilege serves to maintain the integrity of agency decision-making processes
                                by encouraging open and candid discussions. This email, sent to a DCC at OPLA from a Senior
                                Attorney at ILPD, provides their preliminary legal analysis of whether the disclosure of Plaintiff’s
                                information was in violation of 8 CFR § 208.6. Release of this material would serve to profoundly
                                chill the decision-making process across ICE, where it is crucial that employees are able to freely
                                express their opinion regarding how best to represent the agency’s interests and which litigation
                                strategy to pursue. Disclosure would discourage the expression of candid opinions and inhibit the free
                                and frank exchange of information and ideas between agency personnel and between agencies and
                                ensure personnel would be less inclined to freely memorialize their thoughts regarding litigation
                                strategies, which would adversely affect the ability to ICE to effectively conduct government
                                business.

                                Additionally, the information redacted on these email communications also constitutes attorney-client
                                privileged information because ILPD provides legal advice and counsel to the OPLA field offices,
                                including OPLA NYC, on immigration and protection law concerns. In this email exchange, ILPD is
                                providing their legal opinion and advice to OPLA NYC, in their capacity as advisors to the field
                                offices, regarding their recommendations and analysis as to whether the disclosure of Plaintiff’s
                                information violated 8 CFR § 208.6. The attorney-client privilege protects confidential
                                communications between attorneys and their clients relating to a legal matter for which the client has
                                sought professional advice. The attorney-client privilege is not limited to protecting documents
                                created in anticipation of litigation. This privilege applies to facts that are divulged to the attorney and
                                encompasses the opinions given by the attorney based upon, and thus reflecting, those facts.
                                Attorney-client communications are shielded from disclosure to encourage a full and frank discussion
                                between the client and its legal advisor. If these communications, as covered by the attorney-client

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                 Full/Partial                                                                                                              Applied
        #
                                privilege, were disclosed, this could adversely impact the free flow of advice and information and
                                could chill interactions and communications between agency employees and their legal counsel.
                                Document Title: Email titled, “RE: Allegation of Unlawful Disclosure - AXXX-XXX-XXX
                                (DETAINED);” September 14, 2023 8:52 AM

                                Document Description: This is an email communication from a Senior Attorney at ILPD at OPLA
                                HQ to a DCC at OPLA NYC. The ILPD and GILD group inbox are included on this communication.
       153-
                    Partial     An ACC at ICE OPLA NYC and attorney in ILPD are copied on the communication.                                 n/a
     153/L15

                                Redacted Information: Redactions pursuant to FOIA Exemption (b)(5) were not made to this
                                record.

                                Document Title: Email titled “RE: Allegation of Unlawful Disclosure - AXXX-XXX-XXX
                                (DETAINED)” September 13, 2023 6:58PM

                                Document Description: This is an email communication from the DCC at OPLA NYC to GILD and
                                ILPD regarding the inadvertent disclosure of Plaintiff’s information and contains the attorney’s legal
                                analysis of whether the disclosure violates 8 CFR § 208.6. An ACC at OPLA NYC is copied on the
                                communication.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                                                                                                                         Freedom of
                                deliberative and attorney-client privileged information.
                                                                                                                                         Information
       153-
                    Partial                                                                                                              Act 5 U.S.C.
     155/L14                    Upon further consideration, ICE no longer claims exemption (b)(5) as to the first three
                                                                                                                                            § 552
                                paragraphs of the body of the email and will process it for release.
                                                                                                                                            (b)(5)
                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5): This Exemption protects the integrity of the deliberative or decision-making
                                processes within the agency by exempting from mandatory disclosure opinions, conclusions, and
                                recommendations included within inter-agency or intra-agency memoranda, correspondence, or letters
                                through the deliberative process privilege. The deliberative process privilege protects the internal
                                deliberations of the government by exempting recommendations, analyses, and discussions
                                undertaken to aid agency decision making. The privilege serves to maintain the integrity of agency
                                decision-making processes by encouraging open and candid discussions. This email, from an OPLA

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                 Full/Partial                                                                                                                    Applied
        #
                                NYC attorney to ILPD and GILD, includes their legal analysis and preliminary conclusions about
                                whether the inadvertent disclosure violates 8 CFR § 208.6. Release of this material would serve to
                                profoundly chill the decision-making process across ICE, where it is crucial that employees are able
                                to freely express their opinion regarding how best to represent the agency’s interests and which
                                litigation strategy to pursue. Disclosure would discourage the expression of candid opinions and
                                inhibit the free and frank exchange of information and ideas between agency personnel and between
                                agencies and ensure personnel would be less inclined to freely memorialize their thoughts regarding
                                litigation strategies, which would adversely affect the ability to ICE to effectively conduct
                                government business.

                                Additionally, the information redacted on these email communications also constitutes attorney-client
                                privileged information because ILPD provides legal advice and counsel to the OPLA field offices,
                                including OPLA NYC, on immigration and protection law concerns and GILD provides legal advice
                                and counsel to OPLA field offices on information disclosure and privacy law concerns. In a portion of
                                this email, an OPLA NYC DCC is requesting a legal analysis of 8 CFR § 208.6 and is laying out
                                pertinent facts for ILPD and GILD. The attorney-client privilege protects confidential
                                communications between attorneys and their clients relating to a legal matter for which the client has
                                sought professional advice. The attorney-client privilege is not limited to protecting documents
                                created in anticipation of litigation. This privilege applies to facts that are divulged to the attorney and
                                encompasses the opinions given by the attorney based upon, and thus reflecting, those facts.
                                Attorney-client communications are shielded from disclosure to encourage a full and frank discussion
                                between the client and its legal advisor. If these communications, as covered by the attorney-client
                                privilege, were disclosed, this could adversely impact the free flow of advice and information and
                                could chill interactions and communications between agency employees and their legal counsel.
                                Document Title: Email titled “RE: Asylum disclosure clawback letter;” September 18, 2023, at 3:33
                                PM

                                Document Description: This is an email communication from an ACC at ICE OPLA NYC to a DCC        Freedom of
                                at OPLA NYC regarding a clawblack letter in response to the inadvertent disclosure of informationInformation
     156/L13        Partial     pertaining to Plaintiff in violation of 8 CFR § 208.6.                                           Act 5 U.S.C.
                                                                                                                                    § 552
                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold    (b)(5)
                                deliberative information.

                                Reason(s) for Redactions:

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        #
                                FOIA Exemption (b)(5): This Exemption protects the integrity of the deliberative or decision-making
                                processes within the agency by exempting from mandatory disclosure opinions, conclusions, and
                                recommendations included within inter-agency or intra-agency memoranda, correspondence or letters
                                through the deliberative process privilege. The deliberative process privilege protects the internal
                                deliberations of the government by exempting recommendations, analyses, and discussions
                                undertaken to aid agency decision making. The privilege serves to maintain the integrity of agency
                                decision-making processes by encouraging open and candid discussions. This email, sent to a DCC at
                                OPLA NYC from an OPLA NYC ACC, is outlining edits made to a document prepared for the DCC
                                and discussing suggested next steps, with no final decisions taken. Release of this material would
                                serve to profoundly chill the decision-making process across ICE, where it is crucial that employees
                                are able to freely express their opinion regarding how best to represent the agency’s interests and
                                which litigation strategy to pursue. Disclosure would discourage the expression of candid opinions
                                and inhibit the free and frank exchange of information and ideas between agency personnel and
                                between agencies and ensure personnel would be less inclined to freely memorialize their thoughts
                                regarding litigation strategies, which would adversely affect the ability to ICE to effectively conduct
                                government business.
                                Document Title: Email titled “RE: Asylum disclosure clawback letter;” September 18, 2023, at 8:28
                                AM                                                                                                        Freedom of
                                                                                                                                          Information
     157/L11        Partial     Document Description: Body of email                                                                       Act 5 U.S.C.
                                                                                                                                             § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                   (b)(5)
                                information withheld and will re-process it for release.
                                Document Title: Email titled “FW: Asylum disclosure clawback letter;” September 15, 2023, at 5:37
                                PM                                                                                                        Freedom of
                                                                                                                                          Information
       157-
                    Partial     Document Description: Body of email                                                                       Act 5 U.S.C.
     158/L10
                                                                                                                                             § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                   (b)(5)
                                information withheld and will re-process it for release.
                                Document Title: Email titled, “FW: Asylum disclosure clawback letter;” September 15, 2023 10:21           Freedom of
                                PM                                                                                                        Information
       158-
                    Partial                                                                                                               Act 5 U.S.C.
      159/L9
                                Document Description: Body of email                                                                          § 552
                                                                                                                                             (b)(5)

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        #
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the
                                information withheld and will re-process it for release.
                                Document Title: Document titled, “216173732 208.6 ltr to RA.doc.PDF.”

                                Document Description: This is a draft notification letter sent from a Senior Attorney in OPLA NYC
                                to the DCC at OPLA NYC that notifies the Brooklyn Defender Services of the inadvertent disclosure
                                of information pertaining to Plaintiff in violation of 8 CFR § 208.6.

                                Redacted Information: Partial redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative information.

                                Reason(s) for Redactions:
                                FOIA Exemption (b)(5): The information on these pages is properly withheld under FOIA Exemption
                                                                                                                                          Freedom of
                                (b)(5) as deliberative. The deliberative process privilege protects the internal deliberations of the
                                                                                                                                          Information
       162-                     government by exempting recommendations, analyses, and discussions undertaken to aid agency
                    Partial                                                                                                               Act 5 U.S.C.
      163/L8                    decision making. The privilege serves to avoid public confusion generated by rationales or decisions
                                                                                                                                             § 552
                                not ultimately adopted by an agency and maintains the integrity of agency decision-making processes
                                                                                                                                             (b)(5)
                                by encouraging open and candid discussions. Here, the information redacted consists of a draft
                                notification letter that the Senior Attorney is sharing with the DCC of OPLA NYC. Draft documents,
                                by their nature, are pre-decisional and preliminary versions of what may later become a final
                                document in whole or in part. Oftentimes draft documents never evolve into a final form; material is
                                withdrawn or discarded during the decision-making process. It is also possible that the process by
                                which a draft evolves into a final document, in and of itself, can be considered deliberative. Release of
                                the draft material would serve to profoundly chill the decision-making process across ICE because it
                                would discourage the expression of candid opinions and inhibit the free and frank exchange of
                                information and ideas between agency personnel, and also ensure personnel would be less inclined to
                                produce and circulate materials for the consideration and comment of their peers.

                                Document Title: Email titled, “RE: Unlawful disclosure of information regarding John Doe (XXX-
                                XXX-XXX)’s asylum claim;” October 10, 2023 3:49 PM                                                       Freedom of
                                                                                                                                         Information
      164/L7        Partial     Document Description: Body of email                                                                      Act 5 U.S.C.
                                                                                                                                            § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                  (b)(5)
                                information withheld and will re-process it for release.

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        #
                                Document Title: Email titled, “RE: Unlawful disclosure of information regarding John Doe (XXX-
                                XXX-XXX)’s asylum claim;” October 10, 2023 3:47 PM                                                     Freedom of
                                                                                                                                       Information
      165/L6        Partial     Document Description: Body of email                                                                    Act 5 U.S.C.
                                                                                                                                          § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the                (b)(5)
                                information withheld and will re-process it for release.
                                Document Title: Document titled, “Clawback Letter. D. Rashid.PDF,” December 12, 2022.
                                                                                                                                       Freedom of
                                                                                                                                       Information
       195-                     Document Description: Clawback letter
                     Full                                                                                                              Act 5 U.S.C.
      196/L5
                                                                                                                                          § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the
                                                                                                                                          (b)(5)
                                information withheld and will re-process it for release.
                                Document Title: Document titled, “SP_Notification Letter to Attorneys - Clients Not.PDF,” Undated.
                                                                                                                                       Freedom of
                                                                                                                                       Information
       197-                     Document Description: Clawback letter
                     Full                                                                                                              Act 5 U.S.C.
      198/L4
                                                                                                                                          § 552
                                Redacted Information: On further consideration, ICE no longer claims Exemption 5 as to the
                                                                                                                                          (b)(5)
                                information withheld and will re-process it for release
                                Document Title: Document titled, “Sample Notification Letter.PDF[1]”.

                                Document Description: This is a collection of sample letters regarding notifications of the
                                inadvertent disclosure of an individual’s information in violation of a confidentiality obligation.    Freedom of
                                                                                                                                       Information
       201-
                     Full       Redacted Information: Full redactions pursuant to FOIA Exemption (b)(5) were made to withhold          Act 5 U.S.C.
      240/L3
                                deliberative information.                                                                                 § 552
                                                                                                                                          (b)(5)
                                On further consideration, ICE no longer claims Exemption 5 as to the information withheld in
                                these letters. However, these records are withheld pursuant to (b)(6) and (b)(7)(C).

                                Document Title: Document titled, “Sample Notification Letter.PDF”.                                     Freedom of
                                                                                                                                       Information
       241-
                     Full       Document Description: This is a collection of sample letters regarding notifications of the            Act 5 U.S.C.
      280/L2
                                inadvertent disclosure of an individual’s information in violation of a confidentiality obligation.       § 552
                                                                                                                                          (b)(5)

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                 Withholding:                                                                                                   Exemption(s)
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                 Full/Partial                                                                                                     Applied
        #
                                Redacted Information: Full redactions pursuant to FOIA Exemption (b)(5) were made to withhold
                                deliberative information.

                                On further consideration, ICE no longer claims Exemption 5 as to the information withheld in
                                these letters. However, these records are withheld pursuant to (b)(6) and (b)(7)(C).




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